Case 2:23-cv-00576-JRG-RSP Document 26-13 Filed 01/29/24 Page 1 of 4 PageID #: 1115




                               Exhibit 4
1/19/24,Case   2:23-cv-00576-JRG-RSP
         4:10 PM                                Document 26-13 FAQ
                                                                Filed  01/29/24
                                                                   - Sony Music Page 2 of 4 PageID #: 1116




                                 About            News                Careers   FAQ   For Artists




FAQ
Learn more about Sony Music, find specific information for artists and
creators, discover how to join our team, and more.


General Company Information

   What does Sony Music do?                                               

   Where is Sony Music located?                                           
   Sony Music has offices in over 60 countries around the world. Its
   global HQ is based in New York City.



   Which record labels live under the Sony Music umbrella?                

   Where can I find more information about Sony Music?                    

For Artists & Creators

   Who do I contact if I am an artist or other rights holder with a
   question about royalty claims, processing, or administration—
   including issues such as updating my mailing address and contact       
   information?



   How do I submit a demo to Sony Music?                                  


https://www.sonymusic.com/faq/                                                                               1/3
1/19/24,Case   2:23-cv-00576-JRG-RSP
         4:10 PM                               Document 26-13 FAQ
                                                               Filed  01/29/24
                                                                  - Sony Music Page 3 of 4 PageID #: 1117

   I’m receiving an email from someone claiming to be a Sony Music
   representative and asking for a payment. Is this a legitimate offer?     

Joining The Team

   How can I learn more about employment opportunities and
   internships at Sony Music?                                               


   How can I get a better inside look at the company culture?               

Getting In Touch

   What is the phone number for Sony Music?                                 

   I am a member of the press looking for a media contact. Who do I
   ask if I have a question about a Sony Music artist, including requests
   for interviews, review materials, photos, videos, credentials and other 
   assets?



   Who do I contact if I’m interested in licensing a song or video from a
   Sony Music artist for use in my film, television, commercial, web        
   series, radio show, podcast, multi-media project, etc.?



   I have discovered a cyber security issue in a Sony Music website or
   system, how do I report it to you?                                       




                                                                                Featured Video




https://www.sonymusic.com/faq/                                                                              2/3
1/19/24,Case   2:23-cv-00576-JRG-RSP
         4:10 PM                             Document 26-13 FAQ
                                                             Filed  01/29/24
                                                                - Sony Music Page 4 of 4 PageID #: 1118




                                                                             Doja Cat – Paint The To ...




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https://www.sonymusic.com/faq/                                                                                               3/3
